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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10     UNITED STATES OF AMERICA,                Case No. 2:21-cr-00127-MCS-1
11
                          Plaintiff,
12                                              ORDER RE: EX PARTE
13                 v.                           APPLICATION FOR BOND
                                                PENDING APPEAL (ECF NO. 246)
14
       DOUGLAS J. CHRISMAS,
15
                          Defendant.
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18          Following a jury trial, Defendant Douglas J. Chrismas was found guilty of three
19    counts of embezzlement of a bankruptcy estate in violation of 18 U.S.C. § 153.
20    (Indictment, ECF No. 1; Redacted Jury Verdict, ECF No. 176.) The Court denied
21    Defendant’s post-trial motions and sentenced Defendant to 24 months in custody,
22    followed by three years of supervised release. (J. and Commitment, ECF No. 242.)
23    Defendant was ordered to surrender himself to begin his custodial sentence on February
24    17, 2025. (Id.) Defendant filed an ex parte application for bond pending appeal, (EPA,
25    ECF No. 246), which the Government opposed, (Opp’n, ECF No. 247).
26          The Court agrees with the Government that Defendant’s application raises
27    substantive questions which would be more appropriately addressed through full
28    briefing. The Court also has concerns about Defendant’s flight risk and would like to
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 1    consider the Government’s position alongside Defendant’s.
 2             The Court considers Defendant’s ex parte application as a motion for bond
 3    pending appeal and orders the Government to file an opposition to Defendant’s
 4    motion for a bond pending appeal by February 10, 2025. Defendant may file a reply
 5    by February 24, 2025. The Court sets a hearing on this motion for March 3, 2025, at
 6    9:00 a.m., and continues Defendant’s self-surrender date to March 3, 2025, at 12:00
 7    noon. 1
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10    IT IS SO ORDERED.
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12        Dated: February 3, 2025
13                                                    MARK C. SCARSI
                                                      UNITED STATES DISTRICT JUDGE
14
      cc: USMO, BOP, PSA, USPO, Fiscal
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        The Court assumes that Defendant will self-surrender at the office of the United States
26    Marshal at the First Street Courthouse if the motion is denied. Should the Bureau of
27    Prisons designate an institution for Defendant before the hearing on the motion, the
      Court will issue an appropriate order resetting the self-surrender obligation at or before
28    the hearing.
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